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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:
                                                )
DNC and TCPA LIST SANITIZER, LLC                )       Case No. 24-12624
Tax ID / EIN: XX-XXXXXXX                        )
                                                )       Chapter 11
                       Debtor.                  )

            UNITED STATES TRUSTEE’S ENTRY OF APPEARANCE AND
                          REQUEST FOR NOTICES


         The United States Trustee (“UST”), by and through undersigned counsel, files this entry
of appearance and request for notices. Pursuant to Fed. R. Bankr. P. 9034(k), the UST requests
that all pleadings and notices filed in this case be served on the UST at the address set forth
below.


Dated: May 16, 2024                             Respectfully submitted,

                                                Patrick S. Layng
                                                UNITED STATES TRUSTEE

                                                /s/ Alan K. Motes
                                                By: Alan K. Motes #33997
                                                Trial Attorney for the U.S. Trustee
                                                1961 Stout Street, Suite 12-200
                                                Denver, CO 80294
                                                (303)312-7999
                                                (303)312-7259 fax
                                                Alan.Motes@usdoj.gov
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                            CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the UNITED STATES
TRUSTEE’S ENTRY OF APPEARANCE AND REQUEST FOR NOTICES was served to the
following parties:

Dated: May 16, 2024

JC925Ave@yahoo.com

                                          /s/ Alan Motes
                                          Office of the United States Trustee
